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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF VIRGINIA
                          ALEXANDRIA DIVISION


REYNOLDS CONSUMER PRODUCTS INC.,

                       Plaintiff,

             -v-
                                           Case No.: 1:13-CV-214 LO/TRJ
HANDI-FOIL CORPORATION,

                       Defendant.




    PLAINTIFF REYNOLDS CONSUMER PRODUCTS INC.’S BRIEF IN SUPPORT
     OF ITS MOTION FOR LEAVE TO FILE SECOND AMENDED COMPLAINT




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I.      PRELIMINARY STATEMENT

        Plaintiff Reynolds Consumer Products Inc. (“Reynolds”) respectfully submits this brief in

support of its Motion for leave to file its Second Amended Complaint (the “Motion”) to add a

claim for false advertising and unjust enrichment in violation of section 43(a) of the Lanham Act

(15 U.S.C. § 1125(a)) against Defendant Handi-Foil Corporation (“Handi-Foil”). The Second

Amended Complaint is attached hereto as Exhibit A. A redline showing the amendments to the

First Amended Complaint reflected in the Second Amended Complaint is attached hereto as

Exhibit B.

        The false advertising claim is based upon documents and information first obtained by

Reynolds from Handi-Foil during discovery after the July 5, 2013 deadline to amend pleading

set by the Court. Only through document productions from Handi-Foil on July 19 and July 23,

2013 did Reynolds learn of the mechanisms of Handi-Foil’s false advertising. And not until the

deposition of David Sarnoff, Executive Vice President of Handi-Foil, on July 30 and July 31,

2013, did Reynolds learn that despite statements to the contrary, Handi-Foil’s consumer roll foil

product has not changed since its introduction at least 12 years ago and could therefore not be

comparable in strength to REYNOLDS WRAP.

        Reynolds has acted diligently in moving to amend the complaint only days after this

information was conveyed.       Reynolds received the expedited transcript of Mr. Sarnoff’s

deposition on Friday, August 2, 2013.          Reynolds drafted the Second Amended Complaint

immediately and sent a draft of the Second Amended Complaint to Handi-Foil on Monday,

August 5, 2013. On August 7 and August 8, 2013, Reynolds received permission from Handi-

Foil to file publicly the Motion, this Brief in support of the Motion, the Second Amended

Complaint, and the Declaration of David B. Schwartz in support of the Motion (the

“Declaration”), filed herewith. (Decl. ¶16.)


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         The addition of the false advertising claim neither prejudices Handi-Foil nor requires an

extension of the discovery period due to the overlapping facts in both the false advertising claim

and the intentional confusion of consumers alleged in Reynolds’ trademark infringement and

related claims. Moreover, interests of judicial economy dictate that these issues be litigated

together rather than in a new action. Accordingly, Reynolds’ Motion should be granted.

II.      FACTS AND PROCEDURAL HISTORY

         Reynolds’ Complaint (Docket No. 1) and First Amended Complaint (Docket No. 34)

against Handi-Foil allege certain claims (the “Existing Claims”) 1 against Handi-Foil related to its

consumer aluminum roll foil products advertised and/or sold from 2012 to the present. On May

22, 2013, the parties submitted a Joint Discovery Plan (the “Joint Discovery Plan”), which

specified July 5, 2013 as the deadline to file motions to amend the pleadings. (Docket No. 19.)

On June 3, 2013, the Court entered the Rule 16(b) Scheduling Order (the “Scheduling Order”)

incorporating the deadline from the Joint Discovery Plan. (Docket No. 20.)

         Discovery on the Existing Claims has brought to Reynolds’ attention information and

documents from Handi-Foil supporting the false advertising claim of which Reynolds was not

previously aware. As detailed in the Declaration, Reynolds only became aware of these key

facts after the deadline to amend the complaint had passed. In particular, Reynolds learned of

this information only in Handi-Foil’s document productions received by Reynolds on July 19

and July 23, 2013 and in the Deposition of David Sarnoff on July 30 and July 31, 2013.




1
  These claims are for trademark infringement in violation of § 32 of the Lanham Act (15 U.S.C.
§ 1114), false designation of origin in commerce in violation of § 43(a) of the Lanham Act (15
U.S.C. § 1125(a)), trade dress infringement in violation of § 43(a) of the Lanham Act (15 U.S.C.
§ 1125(a)), trademark dilution in violation of § 43(c) of the Lanham Act (15 U.S.C. § 1125(c)),
trademark infringement in violation of Virginia Code § 59.1-92.12 and other states’ laws, and
common law unfair competition and unjust enrichment.


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         A.     Facts Supporting a Claim for False Advertising

                1.     Handi-Foil’s Weaker Consumer Roll Foil Product

         Handi-Foil has been selling consumer aluminum foil roll products under the Handi-Foil

brand since 2001. (Decl. ¶¶9-10.) From 2001 until the introduction of the Dollar Tree Box 2 in

2012, Handi-Foil did not advertise or sell any such products as comparable to the “national

brand” generally or to REYNOLDS WRAP specifically. (Id. at ¶10.) In fact, a 2002 third-party

test commissioned by Handi-Foil found that Handi-Foil consumer aluminum foil roll product

was inferior in both tensile strength and bursting strength to REYNOLDS WRAP and concluded

it was not comparable to REYNOLDS WRAP. (Id. at ¶4.) Another test commissioned by a

customer in 2003, at Defendant’s expense, found that Handi-Foil branded standard and heavy-

duty consumer aluminum roll foil products were substantially weaker than their REYNOLDS

WRAP counterparts, and each report expressly concluded that the Handi-Foil product was “Not

comparable to the national brand, Reynolds.” (Id. at ¶6.)

                2.     Handi-Foil Changed Its Packaging Without Changing Its Product

         In or around 2011, Dollar Tree approached Defendant with an inquiry whether Defendant

could supply it with a “National Brand Equivalent” (“NBE”) product. (Id. at ¶9. ) 3 Importantly,

Handi-Foil did not commission a new roll foil product for Dollar Tree. Instead, it commissioned

only a new box. The aluminum foil used in Handi-Foil brand aluminum roll foil products has

not changed between 2002 and the present. (Id. at ¶11.) The only thing that has changed about

Handi-Foil branded consumer roll products has been the boxes in which they are sold. (Id.)


2
 The Dollar Tree Box is defined in ¶ 53 and depicted in ¶ 29 of the of the Second Amended
Complaint.
3
  REYNOLDS WRAP was at that time, and remains today, the sole national brand of consumer
aluminum roll foil products in the United States. (Decl. ¶9.)



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         Although a third-party report commissioned by Defendant in 2011 concluded, based on a

number of superficial measures relating primarily to the size of the products, that Handi-Foil was

“Comparable” to the REYNOLDS WRAP products, even this report showed that Handi-Foil was

substantially weaker than REYNOLDS WRAP. (Id. at ¶14.) Nevertheless, Defendant agreed to

sell its Handi-Foil brand aluminum roll foil product in a 25 square-foot size to Dollar Tree as a

NBE product. Dollar Tree suggested that the Dollar Tree Box display the following legend:

“compared to the national brand.” Defendant suggested that the legend state, instead: “Compare

to Reynolds Wrap® Foil.” Dollar Tree agreed, and that is the legend that has appeared on every

Dollar Tree Box sold to date. (Id. at ¶12.)

         After sales of consumer aluminum foil in the Dollar Tree Box began, Defendant selected

a slightly different, although substantially similar, package design (the “Third Box”) 4 and

commenced selling consumer aluminum roll foil in that box in approximately mid-2012. In late

2012, Defendant modified the package of its consumer aluminum roll foil products slightly to

create the Grocery Box, 5 which is also substantially and intentionally similar to the packaging of

REYNOLDS WRAP, and began selling product in that box shortly thereafter. Both boxes

display the “Compare to Reynolds Wrap® Foil” legend.

                3.     Handi-Foil Has “Introduc[ed]” Its “New” Consumer Roll Product
                       to Customers and Potential Customers as “Comparable To,”
                       “Equivalent to,” and “Equal to” REYNOLDS WRAP in “Strength”

         Defendant announced its Handi-Foil brand consumer aluminum foil products in the Third

Box and Grocery Box as new products that were, for the first time, comparable to REYNOLDS

WRAP. For example, Defendant and its sales representatives emailed and/or presented its


4
    The Third Box is defined in ¶ 62 and depicted ¶¶ 36-37 of the Second Amended Complaint.
5
 The Grocery Box is defined in ¶ 63 and depicted in ¶¶ 38-39 of the Second Amended
Complaint.


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prospective customers glossy catalog sheets, prepared by Defendant and approved by its top

management, which proclaimed: “introducing handi-foil ALUMINUM FOIL,” directly over a

photograph of product in the Third Box displaying the “COMPARE TO REYNOLDS WRAP®

FOIL” legend. Immediately following that photograph, the catalog sheets proclaimed “Reynolds

Equivalent Gauge and Strength,” and “Compare to Reynolds Wrap on the Box.” (Id. at ¶7.)

           Through other written and oral advertisements and promotional communications, Handi-

Foil personnel and sales representatives expressly and repeatedly advised prospective customers

that Handi-Foil consumer roll foil products were equal in gauge and strength to REYNOLDS

WRAP, and that this was the meaning of the “COMPARE TO REYNOLDS WRAP® FOIL”

legend on the boxes, as depicted on the catalog sheets described above. (Id. at ¶7.) For example,

in emails to customers and potential customers between September 2012 and March 2013,

Handi-Foil representatives touted the “NEW HANDI-FOIL” as “‘EQUAL’ TO REYNOLDS

GUAGE [sic] & STRENGTH,” and “equivalent in gauge and strength to Reynolds’s [sic]

Wrap.” (Id. at ¶¶3, 7.) In addition, in February 2013, a Handi-Foil representative emailed a

prospective customer advising in substance that Defendant’s written claims about quality and

strength of Handi-Foil consumer roll foil products were supported by third-party testing. (Id.

at ¶7c.)

           The “Compare To” and strength equivalency claims necessarily implied the existence of

supporting tests, as evidenced in part by various customers’ requests for the testing that

supported the claims.      Moreover, as shown above, it was commonplace for Handi-Foil to

expressly advise customers in writing and in face-to-face sales meetings that those claims were

supported by third-party testing. (Id. at ¶7c.)




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           Defendant’s sales efforts included detailed written presentations that urged customers to

 replace many REYNOLDS WRAP products on store shelves with Handi-Foil products in the

 REYNOLDS look-alike boxes. The main selling points were Defendant’s repeated assertions

 that Handi-Foil was a new, REYNOLDS WRAP-equivalent product that was equal in strength

 but lower in cost. (Id. at ¶3.)

           B.     After Learning of Handi-Foil’s False Advertising, Reynolds Has Moved to
                  Amend the Complaint as Quickly as Possible

           Reynolds is bringing its Motion at the first opportunity to do so. Reynolds only began to

 become aware of the majority of the above-referenced facts in the last 21 days. Prior to the

 recent document productions and deposition, Reynolds was not aware that the Handi-Foil

 product presented as new was actually old, that Handi-Foil was telling customers that “Compare

 To” meant same strength, or that Handi-Foil’s consumer foil wrap product had not changed in

 any way since it was first introduced.

           On July 19, 2013, Defendant produced and Reynolds received written presentations to

 Handi-Foil’s customers and potential customers urging them to replace REYNOLDS WRAP

 products with Handi-Foil products, with the main selling point being that the Handi-Foil

 products were new, REYNOLDS-equivalent products that were equal in strength but lower in

 cost.     (Id. at ¶¶2-4.)   On July 23, Defendant produced and Reynolds received (i) email

 communications from Handi-Foil representatives to customers and potential customers stating

 that the Handi-Foil consumer roll products being offered in 2012 and 2013 were “New” and

 “Equivalent,” and “Equal” to REYNOLDS WRAP in strength, and (ii) evidence that catalog

 sheets with similar claims were widely distributed to customers and potential customers. (Id. at

 ¶¶5-7.)




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          Handi-Foil did not produce until July 19 and July 23, respectively, the 2002 and 2003

 reports of third-party test results that showed Handi-Foil’s consumer aluminum foil products

 were substantially weaker than, and not “Comparable” to REYNOLDS WRAP. (Id. at ¶¶2-7.)

 Reynolds did receive the April 2011 tests prior to those productions, and those tests also showed

 Handi-Foil aluminum foil wrap products to be weaker than REYNOLDS WRAP. (Id. at ¶¶14.)6

 Importantly, however, Reynolds had no reason to believe that the Handi-Foil products

 “introduced” as a new line and equal in strength to Reynolds in 2012 was actually the same,

 demonstrably weaker aluminum foil that Handi-Foil had been selling to stores without any

 “Compare To” label since at least 2002.

          Reynolds first became aware that the consumer roll foil products offered under the

 Handi-Foil brand from 2001 through the present are the same and have never varied in quality or

 composition from Mr. Sarnoff’s deposition testimony on July 30 and July 31, 2013. (Id. at ¶¶8,

 11.) He testified that the only thing that has changed about those products from 2002 to the

 present has been the boxes in which they are sold. (Id. at ¶¶8, 11.)

          Mr. Sarnoff also testified that at the time of Dollar Tree’s approach described above,

 Defendant had been selling consumer aluminum roll foil products under the Handi-Foil brand for

 at least 10 years. (Id. at ¶10.) He testified further that Defendant had not advertised or sold any

 such products as comparable to the “national brand” generally or to REYNOLDS WRAP

 specifically. (Id.) In addition, he testified that Dollar Tree approached Defendant in or around



 6
    Handi-Foil has subsequently produced on August 2, 2013, a third-party test dated 2004
 showing that Handi-Foil and REYNOLDS WRAP were comparable in strength. This test result
 is inconsistent with the earlier tests in 2002 and 2003 and the more current test in 2011, which all
 showed that Handi-Foil was substantially weaker than REYNOLDS WRAP. (Id. at ¶14 n.2.) In
 addition, Handi-Foil sent the more recent 2011 test results, rather than the 2004 test results, to
 potential customers along with catalogue sheets asserting “Reynolds Equivalent Gauge and
 Strength. (Id. at ¶14.).


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 2011, with an inquiry whether Defendant could supply it with a “National Brand Equivalent”

 product and that Handi-Foil had suggested the “Compare to Reynolds” language for the Dollar

 Tree Box. (Id. at ¶¶9-10, 12.)

 III.     ARGUMENT

          A.     The Applicable Standards

          Pursuant to Federal Rule of Civil Procedure 15(a), the “court should freely give leave [to

 amend a pleading] when justice so requires.” FED. R. CIV. P. 15(a). “[L]eave to amend a

 pleading should be denied only when the amendment would be prejudicial to the opposing party,

 there has been bad faith on the part of the moving party, or the amendment would have been

 futile.” Laber v. Harvey, 438 F.3d 404, 426 (4th Cir. 2006) (internal quotation marks and

 citation omitted).

          In this case, the deadline in the scheduling order has passed. (See Docket No. 20.)

 “Once the scheduling order is set, it is the timelines within that document that control and the

 ‘good cause’ standard of Rule 16 that governs any amendments to pleadings.” Capital One

 Servs., LLC v. Foster, No. 3:09-CV-569, 2010 U.S. Dist. LEXIS 12145, at *4 (E.D. Va. Feb. 11,

 2010) (citing Montgomery v. Anne Arundel County, 182 Fed. Appx. 156, 162 (4th Cir. 2006));

 see also Nourison Rug Corp. v. Parvizian, 535 F.3d 295, 298 (4th Cir. 2008) (“after the

 deadlines provided by a scheduling order have passed, the good cause standard must be satisfied

 to justify leave to amend the pleadings.”). Rule 16 states that “[a] schedule may be modified

 only for good cause and with the judge's consent.” FED. R. CIV. P. 16(b).

          Reynolds’ Motion meets both standards and should be granted.




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          B.     The Motion Meets the Rule 15(a) Standard

                 1.      Reynolds Has Not Delayed in Seeking to Amend the Complaint and
                         Delay Is Not Sufficient to Deny Granting of a Motion to Amend

          Plaintiff has moved as soon as reasonably possible after learning of the evidence of false

 advertising and thus, leave should be granted. See Stokes v. Harris, No. 1:10CV935, 2013 U.S.

 Dist. LEXIS 41668, at *14 (M.D.N.C. Mar. 25, 2013) (finding “no dilatory conduct, as Plaintiff

 sought his amendment shortly after discovering the new information”). “[A] motion to amend

 should be made as soon as the necessity for altering the pleading becomes apparent.” Id. (citing

 Deasy v. Hill, 833 F.2d 38, 41 (4th Cir. 1987), cert. denied, 485 U.S. 977 (1988) (internal

 quotation marks omitted). “Delay alone, however, is an insufficient reason to deny [a] motion to

 amend.” Laber, 438 F.3d at 426 (citing Davis v. Piper Aircraft Corp., 615 F.2d 606, 613 (4th

 Cir. 1980)).

          The majority of the documents and testimony referenced in this Brief were provided to

 Reynolds only in last 21 days. Significantly, Reynolds was not aware until Mr. Sarnoff’s

 deposition merely a week ago that the quality and composition of Defendant’s Handi-Foil

 branded consumer roll foil product had not changed since at least 2002. (Decl. ¶11.) Without

 this information, any newly relevant documents produced prior to this period would not have

 given Reynolds adequate notice of any claim for false advertising.

                 2.      Allowing the Amendment Is Neither Prejudicial to Handi-Foil nor
                         Bad Faith on the Part of Reynolds

          Reynolds’ quick action in moving to amend and the interrelated nature of its existing

 claims belays any potential prejudice to Handi-Foil. “Whether an amendment is prejudicial will

 often be determined by the nature of the amendment and its timing.” Laber, 438 F.3d at 427.

          Plaintiff has sought leave to amend the Complaint as soon as possible after learning of

 Handi-Foil’s false advertising. Moreover, discovery is still ongoing and the discovery schedule


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 entered by the Court need not change. The facts underlying Reynolds’ false advertising claim

 will be relevant to its existing infringement claim, as they support Reynolds’ position that

 Defendant intentionally sought to mislead its customers regarding the relationship between

 Handi-Foil and Reynolds’ products. As such, much discovery has already been accomplished

 and any additional discovery can be accomplished in the period that remains. See Edwards v.

 City of Goldsboro, 178 F.3d 231, 243 (4th Cir. 1999) (finding no prejudice when “allegations

 sought to be added in [the amended complaint] derived from evidence obtained during discovery

 regarding matters already contained in the complaint in some form”).

          Only two depositions have occurred to date, both taken by Reynolds, and Reynolds will

 not seek to redepose either of these witnesses. Moreover, Handi-Foil recently served Document

 Requests that seek information relevant to the proposed false advertising claims. (Decl. ¶15.)

 Defendant will not be prejudiced by allowing Reynolds to amend the Complaint and interests of

 judicial economy dictate that these issues be litigated together rather than in a new action.

                 3.       Reynolds’ False Advertising Claim Is Not Futile

          Reynolds sufficiently alleges false advertising by Handi-Foil in the Second Amended

 Complaint. “A party seeking to amend its pleadings must meet the pleading requirements for the

 particular cause of action it seeks to bring to avoid denial on the basis of futility.” Pfizer Inc. v.

 Teva Pharms. USA, Inc., 803 F. Supp. 2d 459, 461 (E.D. Va. 2011). The elements of a false

 advertising claim are:

          (1) The defendant made a false or misleading description of fact or representation
          of fact in a commercial advertisement about his own or another's product; (2) The
          misrepresentation is material, in that it is likely to influence the purchasing
          decision; (3) The misrepresentation actually deceives or has the tendency to
          deceive a substantial segment of its audience; (4) The defendant placed the false
          or misleading statement in interstate commerce; and (5) The plaintiff has been or
          is likely to be injured as a result of the misrepresentation, either by direct
          diversion of sales or by a lessening of goodwill associated with its products.



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 Lufthansa Sys. Infratec Gmbh v. Wi-Sky Inflight, Inc., No. 10-CV-745, 2011 U.S. Dist. LEXIS

 23681, at *38 (E.D. Va. Mar. 9, 2011) (citing Scotts Co. v. United Indus. Corp., 315 F.3d 264,

 272 (4th Cir. 2002)). Reynolds has sufficiently alleged all such elements.

          Handi-Foil has repeatedly made false and misleading statements about the newness and

 strength, in relation to REYNOLDS WRAP, of its consumer roll foil products despite the

 products never changing and Handi-Foil’s third-party tests showing that its products are not as

 strong as REYNOLDS WRAP. Those statements have accompanied explicit statements to

 customers that Handi-Foil’s products should replace REYNOLDS WRAP products on retail

 shelves, and Handi-Foil has been somewhat successful in doing so.

          Moreover, these statements constitute commercial advertisements.           To qualify as

 commercial advertisements, statements must be:

          (1) commercial speech; (2) by a defendant who is in commercial competition with
          plaintiff; (3) for the purpose of influencing consumers to buy defendant's goods or
          services; and (4) although representations less formal than those made as part of a
          classic advertising campaign may suffice, they must be disseminated sufficiently
          to the relevant purchasing public.

 Applied Medical Resources Corp. v. Steuer, 527 F. Supp. 2d 489, 493 (E.D. Va. 2007) (citing

 Fashion Boutique of Short Hills, Inc. v. Fendi USA, Inc., 314 F.3d 48, 56 (2d Cir. 2002)).

 Handi-Foil’s catalog sheets were utilized widely to penetrate the market for consumer roll foil

 products in grocery chains and distributors nationwide. Top Handi-Foil management, including

 Executive Vice President David Sarnoff, spent substantial time designing and updating those

 flyers, which were called variations of “email.pdf,” showing they were intended to be emailed to

 customers and prospective customers. The catalog sheets all falsely claimed, in one form or

 another, that Handi-Foil was equivalent to REYNOLDS WRAP in strength. In that respect, they

 were literally false because, as all the third-party tests showed, Handi-Foil was substantially

 weaker than REYNOLDS WRAP.


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          In addition, by emailing or presenting the catalog sheets to prospective customers (who

 were buyers for grocery or discount stores, or for distributors to such stores), Handi-Foil

 employees and sales representatives referenced test results that purportedly supported the

 strength-equivalence claims. “When an advertising claim of favorable fact either expressly or

 impliedly asserts that the fact is testor study-validated . . . [s]uch a claim may . . . be proven

 literally false by showing only that the test asserted to validate it did not in fact do so.” C.B.

 Fleet Co., Inc. v. Smithkline Beecham Consumer Healthcare, L.P., 131 F.3d 430, 435 (4th Cir.

 1997). “‘Where the advertisement is literally false, a violation may be established without

 evidence of consumer deception.’” Scotts Co., LLC v. Pennington Seed, Inc., No. 3:12-CV-168,

 2012 U.S. Dist. LEXIS 170573, at *13 (E.D. Va. Nov. 30, 2012) (citing PBM Prods., LLC v.

 Mead Johnson & Co., 639 F.3d 111, 120 (4th Cir. 2011)). Those claims were evidently endorsed

 by Handi-Foil top management as part of its plan to get the Handi-Foil brand off the ground

 again.       Among other things, Mr. Sarnoff testified he spent a lot of time educating sales

 representatives about the Handi-Foil aluminum foil products and that in emailing or presenting

 the catalog sheets to customers and potential customers, statements that the strength-equivalence

 claims were supported by third-party tests could have been made. (Decl. ¶13.)

          C.       The Motion Meets the Good Cause Standard of Rule 16

          Because Reynolds only learned of the facts supporting a false advertising claim after the

 deadline to amend pleadings and has moved swiftly to move to amend, good cause exists to grant

 the Motion.

          Under Rule 16, the “good cause” standard focuses on the diligence of the moving party.

 Capital One Servs., LLC, 2010 U.S. Dist. LEXIS 12145, at *4 (citing Montgomery, 182 Fed.

 Appx. at 162). As explained above, Reynolds advised Defendant of this claim by furnishing a

 draft Second Amended Complaint less than a week after it fully came to light. Reynolds could


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 not have brought this claim any sooner and this Court has granted leave to amend for far less

 diligent movants. See Capital One Servs., LLC, 2010 U.S. Dist. LEXIS 12145, at *5 (granting

 plaintiff’s motion to amend complaint even when “all of the documents supporting the new

 claims in the Amended Complaint were within [plaintiff’s]’s possession” prior to the filing of the

 complaint).

 IV.      CONCLUSION

          For the foregoing reasons, Reynolds respectfully requests that this Court enter an Order

 granting Reynolds leave to file the Second Amended Complaint.

 Dated: August 9, 2013                                  Respectfully Submitted,

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                                  CERTIFICATE OF SERVICE

                   Reynolds Consumer Products Inc. v. Handi-Foil Corporation,
                       Case No. 1:13-CV-214 (Eastern District of Virginia)

         The undersigned counsel for plaintiff Reynolds Consumer Products Inc. hereby certifies

 that on August 9, 2013, the above and foregoing will be electronically filed with the Clerk of the

 Court using the CM/ECF system, which will send, as appropriate, an automatic notification of

 such filing to the following:


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         The undersigned counsel also certifies that a copy of the above and foregoing will be sent

 via electronic mail via agreement between the parties to the following non-filing users:

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                                                      /s/ Paul E. Sumilas
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